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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

              v.
                                                    Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                             Defendant


                      ERRATA TO CORRECT SIGNATURE BLOCK

       The United States hereby files this errata to correct the signature block on the

Government’s Motion to Dismiss the Criminal Information Against the Defendant Michael T.

Flynn, filed on May 7, 2020. ECF No. 198. After reviewing the filed pleading, government

counsel observed that that the D.C. Bar number for United States Attorney Timothy J. Shea was

incorrect. Mr. Shea’s correct D.C. Bar number is 437437. The undersigned can aver that the

error was not intentional.

                                                  Respectfully submitted,

                                                  TIMOTHY J. SHEA
                                                  United States Attorney
                                                  D.C. Bar 437437

                                                  By: /s/ Jocelyn Ballantine
                                                  Jocelyn Ballantine
                                                  Assistant United States Attorney
                                                  CA Bar No. 208267
                                                  555 4th Street NW
                                                  Washington, D.C. 20530


Dated: May 11, 2020
